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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


              -against-                             Case No.: 1:23-cr-00251-AKH


CHARLIE JAVICE and OLIVIER AMAR,

                     Defendants.



                                   [Proposed] Verdict Form

  I.       COUNT ONE: Conspiracy to Commit Wire Fraud and Bank Fraud

  As to COUNT ONE, how do you find CHARLIE JAVICE?

              NOT GUILTY                                  GUILTY _____

  As to COUNT ONE, how do you find OLIVIER AMAR?

              NOT GUILTY                                  GUILTY _____

  If your verdict is Not Guilty, proceed to COUNT TWO without checking any of the boxes
  below.

  If your verdict is Guilty as to both defendants, you must unanimously agree as to the object
  of the conspiracy: Bank Fraud, Wire Fraud, or both. Check which of the boxes you have
  unanimously agreed is the object of the conspiracy charged in COUNT ONE.

              WIRE FRAUD            _______

              BANK FRAUD




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   II.    COUNT TWO: Wire Fraud

With respect to Capital One:

   As to COUNT TWO, how do you find CHARLIE JAVICE?

             NOT GUILTY               GUILTY

   As to COUNT TWO, how do you find OLIVIER AMAR?

             NOT GUILTY                      GUILTY

With respect to J.P. Morgan Chase:

   As to COUNT TWO, how do you find CHARLIE JAVICE?

             NOT GUILTY                      GUILTY      _____

   As to COUNT TWO, how do you find OLIVIER AMAR?

             NOT GUILTY                      GUILTY      _____




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   III.   COUNT THREE: Bank Fraud

With respect to Capital One:

   As to COUNT THREE, how do you find CHARLIE JAVICE?

             NOT GUILTY                      GUILTY

   As to COUNT THREE, how do you find OLIVIER AMAR?

             NOT GUILTY                      GUILTY      ______


With respect to J.P. Morgan Chase:

   As to COUNT THREE, how do you find CHARLIE JAVICE?

             NOT GUILTY _____                GUILTY      _____

   As to COUNT THREE, how do you find OLIVIER AMAR?

             NOT GUILTY _____                GUILTY      _____




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   IV.     COUNT FOUR: Securities Fraud

With respect to Capital One:

   As to COUNT FOUR, how do you find CHARLIE JAVICE?

               NOT GUILTY                            GUILTY

If your verdict is Guilty as to Ms. Javice, you must unanimously agree as to the type of unlawful
conduct proved in connection with the purchase or sale of securities of Frank: (a) employed a
device, scheme, or artifice to defraud; or (b) made an untrue statement of a material fact or
omitted to state a material fact that made what was said, under the circumstances, misleading.
Check which of the boxes you have unanimously agreed is the unlawful conduct charged in
COUNT FOUR.

               (a) Employed a device, scheme, or artifice to defraud       _____

               (b) Made an untrue statement of a material fact or
               omitted to state a material fact that made what was said,
               under the circumstances, misleading.


   As to COUNT FOUR, how do you find OLIVIER AMAR?

               NOT GUILTY _____                             GUILTY _____

If your verdict is Guilty as to Mr. Amar, you must unanimously agree as to the type of unlawful
conduct proved in connection with the purchase or sale of securities of Frank: (a) employed a
device, scheme, or artifice to defraud; or (b) made an untrue statement of a material fact or
omitted to state a material fact that made what was said, under the circumstances, misleading.
Check which of the boxes you have unanimously agreed is the unlawful conduct charged in
COUNT FOUR.

               (a) Employed a device, scheme, or artifice to defraud

               (b) Made an untrue statement of a material fact or
               Omitted to state a material fact that made what was said,
               Under the circumstances, misleading.




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With respect to J.P. Morgan Chase:

   As to COUNT FOUR, how do you find CHARLIE JAVICE?

              NOT GUILTY                            GUILTY

If your verdict is Guilty as to Ms. Javice, you must unanimously agree as to the type of unlawful
conduct in connection with the purchase or sale of securities of Frank: (a) employed a device,
scheme, or artifice to defraud; or (b) made an untrue statement of a material fact or omitted to
state a material fact that made what was said, under the circumstances, misleading. Check which
of the boxes you have unanimously agreed is the unlawful conduct charged in COUNT FOUR.

              (a) Employed a device, scheme, or artifice to defraud

              (b) Made an untrue statement of a material fact or
              Omitted to state a material fact that made what was said,
              Under the circumstances, misleading.


   As to COUNT FOUR, how do you find OLIVIER AMAR?

              NOT GUILTY _____                             GUILTY _____

If your verdict is Guilty as to Mr. Amar, you must unanimously agree as to the type of unlawful
conduct in connection with the purchase or sale of securities of Frank: (a) employed a device,
scheme, or artifice to defraud; or (b) made an untrue statement of a material fact or omitted to
state a material fact that made what was said, under the circumstances, misleading. Check which
of the boxes you have unanimously agreed is the unlawful conduct charged in COUNT FOUR.

              (a) Employed a device, scheme, or artifice to defraud

              (b) Made an untrue statement of a material fact or
              Omitted to state a material fact that made what was said,
              Under the circumstances, misleading.




New York, New York
            , 2025



                                                    _______________________
                                                    Foreperson



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